Case 2:Ol-CV-02780-SHI\/|-STA Document 268 Filed 07/06/05 Page 1 of 3 Page|D 325

 

IN THE UNITED sTATES DIsTRIcT coURT mB\'\_].`[€.f_./U.t£
FoR THE wssTERN DISTRICT oF TENNESSEE .
wEsTERN DIvIsIoN DSJLH_ -¢6 PH ha I,l,
THE cLARK coNSTRUcTIoN GROUP, INc., CLMUS M
l WIDOF N.é MEMPHS
Plaintiff,
vs. No. 01~2780-Ma

CITY OF MEMPHIS and THE MEMPHIS COOK
CONVENTION CENTER COMMISSION,

Defendants.

 

ORDER EXTENDING PAGE LIMITA'I'ION

 

Before the court is the June 30, 2005, unopposed motion by
defendants requesting permission to file a memorandum in support
of their motions for partial summary judgment in excess of the
Rule 7.2(e) page limitation. For good cause shown, defendants‘
motion is granted and they may file the motions for summary
judgment and memoranda in support in excess of the twenty page
limitation.

So ORDERED this c,¢`day of July, 2005./

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Daniel Warren Van Horn
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

.1 ohn W. Ralls

THELEN REID & PRIEST
101 Second Street

18th Fl.

San Francisco, CA 94105

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

.1 ames R. Nerand

THELEN REID & PRIEST
Market Square

Ste. 800

701 Pennsylvania Ave.7 N.W.
Washington, DC 20004

Michael I. Less

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Case 2:Ol-cV-O2780-SHI\/|-STA Document 268 Filed 07/06/05 Page 3 of 3 Page|D 327

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/lemphis7 TN 38103

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

.1 oseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

.1 effrey R. Gans

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Taylor Cates

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Christopher 1\/1. Caputo
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

